              Case 2:11-cr-00296-WBS Document 764 Filed 06/27/18 Page 1 of 2


1    ERIN J. RADEKIN
     Attorney at Law - SBN 214964
2
     1001 G Street, Suite 100
3    Sacramento, California 95814
     Telephone: (916) 446-3331
4    Facsimile: (916) 447-2988
5
     Attorney for Defendant
6    SANDRA HERMOSILLO
7

8
                            IN THE UNITED STATES DISTRICT COURT
9
                         FOR THE EASTERN DISTRICT OF CALIFORNIA
10

11

12   UNITED STATES OF AMERICA,           )                2:11-CR-00296 WBS
                                         )
13
                             Plaintiff,  )                STIPULATION AND [PROPOSED]
14                                       )                ORDER TO TEMPORARILY RETURN
     v.                                  )                PASSPORT TO DEFENDANT TO
15                                       )                PERMIT TRAVEL TO MEXICO
                                         )
16
     SANDRA HERMOSILLO,                  )
17                                       )
                             Defendant.  )
18   ___________________________________ )
19

20                                           STIPULATION
21          Plaintiff, United States of America, by and through its counsel, Assistant United States
22
     Attorney Brian Fogerty, and Defendant, Sandra Hermosillo, by and through her counsel, Erin J.
23
     Radekin, hereby stipulate that the court shall return Ms. Hermosillo’s passport to her on the date
24

25   of the filing of the proposed order to permit Ms. Hermosillo to travel to Mexico on or after July

26   6, 2018. Ms. Hermosillo must return to the United States no later than July 17, 2018 and must
27

28



                                       Stipulation and [Proposed] Order - 1
              Case 2:11-cr-00296-WBS Document 764 Filed 06/27/18 Page 2 of 2


1    surrender her passport to the court within 24 hours of returning to the United States, but in no
2
     event later than July 18, 2018.
3
            Accordingly, the parties respectfully request the Court adopt this proposed stipulation.
4

5
     IT IS SO STIPULATED.

6    Dated: June 26, 2018                          MCGREGOR W. SCOTT
                                                   United States Attorney
7

8                                          By:     /s/ Brian Fogerty
                                                   BRIAN FOGERTY
9                                                  Assistant United States Attorney
10

11
     Dated: June 26, 2018                          /s/ Erin J. Radekin
12                                                 ERIN J. RADEKIN
                                                   Attorney for Defendant
13
                                                   SANDRA HERMOSILLO
14

15
     IT IS SO ORDERED.
16

17   Dated: June 27, 2018.
18

19

20

21

22

23

24

25

26

27

28



                                        Stipulation and [Proposed] Order - 2
